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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF WISCONSIN

UNITED STATES OF AMERICA,

                     Plaintiff,                                       ORDER

                v.                                           Case No. 19-cr-76-jdp-1

  DUDLEY HELLENBRAND,

                     Defendant.




      The defendant in the above-entitled case has been:

          X          convicted of the charge against him and no appeal is pending.
                     Therefore, it is directed that the passport be transferred to the U.S.
                     State Department.

                     The State Department is not to reissue a passport without approval
                     of U.S. Probation while the defendant remains on supervision.

                     convicted of the charge against him and no appeal is pending.
                     Therefore, it is directed that the passport be transferred to the ICE
                     Regional Office in Milwaukee, Wisconsin.

      __________     acquitted of the charge against him and/or the charge against him
                     has been dismissed. Therefore, it is directed that the passport be
                     returned to the defendant or his authorized representative.

      __________     Defendant is deceased. Therefore, it is directed that the passport
                     be returned to the State Department.


Signed this 5th day of May, 2021.


                                         BY THE COURT:


                                           s/
                                         ____________________________
                                         STEPHEN L. CROCKER
                                         Magistrate Judge
